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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 97-cr-00388-EWN

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1. MELVIN JERROD TOLIVER,

               Defendant.


                                           ORDER


        Upon petition of the United States and for good cause shown,

        IT IS HEREBY ORDERED, that the Clerk of the Court issue the said writ to the

 United States Marshal’s Service requiring said United States Marshal to produce said

 defendant before United States District Judge Edward W. Nottingham on October 13,

 2006 for sentencing, and to hold him at all times in his custody as an agent of the United

 States of America until final disposition of the defendant’s case, and thereafter to return

 the defendant to the institution wherein he is now confined.

        SO ORDERED this 18th day of August, 2006.
                                            s/ Edward W. Nottingham
                                            EDWARD NOTTINGHAM, JUDGE
                                            UNITED STATES DISTRICT COURT
                                            DISTRICT OF COLORADO
